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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RONALD EARP,                                          :      CIVIL ACTION
         Plaintiff,                                   :
                                                      :
         v.                                           :
                                                      :
MARIO VEREET, et al.,                                 :      NO. 17-2716
        Defendants.                                   :


                                           OR DER

                AND NOW, TO WIT: This 16th day of January, 2018, it having been reported

 that the issues between the parties in the above action have been settled and upon Order of the

 Court pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this

 Court, it is

                ORDERED that the above action is DISMISSED with prejudice, pursuant to

 agreement of counsel without costs.




                                                           S/Shelli L. MacElderry
                                                           Shelli L. MacElderry for
                                                           Rose A. Barber
                                                           Deputy Clerk - Civil
                                                           For Judge Gene E.K. Pratter
                                                           267-299-7352
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